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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.

  RENZO BARBERI,

               Plaintiff,

               vs.

  SOUTH FLORIDA CRAFT BEER LLC, a
  Florida Limited Liability Company d/b/a
  LINCOLN          BEARD           BREWING
  COMPANY and BIRD ROAD PARTNERS
  LLC, a Florida Limited Liability Company,

            Defendants.
  _______________________________/

                                      COMPLAINT

  Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned
  counsel, hereby files this complaint and sues SOUTH FLORIDA CRAFT BEER LLC
  d/b/a LINCOLN BEARD BREWING COMPANY (“BREWING COMPANY”) and BIRD
  ROAD PARTNERS LLC (“BIRD ROAD”) (hereinafter, collectively referred to as
  “Defendants”) for declaratory and injunctive relief; for discrimination based on
  disability; and for the resultant attorney's fees, expenses, and costs (including,
  but not limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181 et.
  seq., ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and
  alleges:


  JURISDICTION
  1.    This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendants’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


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  VENUE
  2.     The venue of all events giving rise to this lawsuit is located in Miami-
  Dade County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local
  Rules of the United States District Court for the Southern District of Florida,
  this is the designated court for this suit.


  PARTIES
  3.    Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the
  time of Plaintiff’s visit to Lincoln Beard Brewing Company (“Subject Facility”),
  Plaintiff suffered from a “qualified disability” under the ADA, and required the
  use of a wheelchair for mobility. Specifically, Plaintiff suffers from paraplegia
  due to a severed T4 and T5, and is therefore confined to his wheelchair.
  Plaintiff personally visited Lincoln Beard Brewing Company, but was denied full and
  equal access, and full and equal enjoyment of the facilities, services, goods, and
  amenities within Lincoln Beard Brewing Company, which is the subject of this
  lawsuit. The Subject Facility is a bar, and Plaintiff wanted to purchase food and
  beverages but was unable to due to the discriminatory barriers enumerated in
  Paragraph 15 of this Complaint.


  4.    In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the
  rights of similarly situated disabled persons and is a “tester” for the purpose of
  asserting his civil rights and monitoring, ensuring and determining whether
  places of public accommodation are in compliance with the ADA.


  5.    Defendants, BREWING COMPANY and BIRD ROAD, are authorized to
  conduct business and are in fact conducting business within the State of Florida.
  The Subject Facility is located at 7360 SW 41st Street, Miami, FL 33155. Upon
  information and belief, BREWING COMPANY is the lessee and/or operator of the
  Real Property and therefore held accountable of the violations of the ADA in the
  Subject Facility which is the matter of this suit. Upon information and belief,
  BIRD ROAD is the owner and lessor of the Real Property where the Subject

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  Facility is located and therefore held accountable for the violations of the ADA
  in the Subject Facility which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.    individuals   with    disabilities   continually     suffer  forms  of
          discrimination,    including:    outright     intentional    exclusion; the
          discriminatory     effects    of     architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

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          v. the continuing existence of unfair and unnecessary discrimination and
            prejudice denies people with disabilities the opportunity to compete on
            an equal basis and to pursue those opportunities for which this country
            is justifiably famous and costs the United States billions of dollars in
            unnecessary expenses resulting from dependency and non-productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the   full   and   equal   enjoyment   of   the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation. Lincoln
  Beard Brewing Company is a place of public accommodation by the fact it is an
  establishment that provides goods/services to the general public, and therefore,
  must comply with the ADA. The Subject Facility is open to the public, its
  operations affect commerce, and it is a restaurant. See 42 U.S.C. Sec. 12181 (7)
  and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public accommodation
  that must comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Lincoln Beard Brewing Company located at 7360 SW 41st


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  Street, Miami, FL 33155, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101
  et. seq.; and by failing to remove architectural barriers pursuant to 42 U.S.C.
  §12182(b)(2)(A)(iv).


  12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personally encountered and/or has

  knowledge of:




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           a) The parking facility in front of the brewery does not provide a compliant

              accessible parking space in the designated customer parking areas. 2012 ADA

              Standards 502.1

           b) The parking facility does not have the minimum number of compliant accessible

              parking spaces required. 2012 ADA Standards 208.2

           c) There are five (5) marked standard parking spaces and one (1) non-compliant

              accessible parking space located on the north side of building. One (1) compliant

              accessible parking space with adjacent access aisle is required. 2012 ADA

              Standards 208.2

           d) The non-compliant parking space is not level. Parking spaces and access aisles

              serving them must comply with Section 302. Access aisles must be at the same

              level as the parking spaces they serve. Changes in level are not permitted. Slopes

              not steeper than 1:48 is permitted to allow water runoff. 2012 ADA Standards

              502.4

           e) The non-compliant parking space is occupied with customer seating benches and

              tables. Additionally, there is a dumpster at the street end of the parking space

              blocking access. Parking access aisles must be part of an accessible route to the

              building or facility entrance. All spaces must be located on an accessible route

              that is at least 44 inches wide so that users are not compelled to walk or wheel

              behind parked vehicles except behind his or her own vehicle. 2012 ADA

              Standards 502.2, 502.3

           f) Access aisles serving car and van parking spaces must be 60 inches wide

              minimum. 2012 ADA Standards 502.3.1



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           g) There is no compliant access aisle attached to an accessible route serving any

              existing parking space which would allow safe entrance or exit of vehicle for

              accessible persons requiring mobility devices. 2012 ADA Standards 502.2

           h) The parking facility does not provide compliant directional and informational

              signage to a compliant accessible parking space. 2012 ADA Standards 216.5

           i) There is currently no existing accessible route to help persons with disabilities

              safely maneuver through the parking facility as required in 2012 ADA Standards

              502.3

           j) Existing facility does not provide a compliant accessible route to the brewery

              main entrance from any site arrival point. In parking facilities where the

              accessible route must cross vehicular traffic lanes, marked crossings enhance

              pedestrian safety, particularly for people using wheelchairs and other mobility

              aids. 2012 ADA Standards 206.2.1, 401.1

           k) There is a non-compliant ramp located on the east end of the building sidewalk.

              The non-compliant ramp is too steep. Ramp runs must have a running slope not

              steeper than 1:12 (8.3%). 2012 ADA Standards 405.2

           l) The ramp does not provide edge protection. Edge protection must be provided on

              each side of ramp runs and at each side of ramp landings. 2012 ADA Standards

              405.9

           m) The facility does not provide compliant directional and informational signage to

              an accessible route which would lead to an accessible entrance. 2012 ADA

              Standards 216.6

  16.   Upon information and belief there are other current violations of the ADA
  at Lincoln Beard Brewing Company. Only upon full inspection can all violations be

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  identified.   Accordingly, a complete list of violations will require an on-site
  inspection by Plaintiff’s representatives pursuant to Rule 34b of the Federal
  Rules of Civil Procedure.


  17.   Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to comply with this mandate.


  19.   Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facility until the
  requisite modifications are completed.


  REQUEST FOR RELIEF
  WHEREFORE, Plaintiff demands judgment against the Defendants and requests
  the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated

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  and/or controlled by the Defendants is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facility to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;


  23.   That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facility;


  24.   That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; and


  25.   That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.



  Dated this June 29, 2021.



  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No. 10089
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  Attorney for Plaintiff, RENZO BARBERI




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.

   RENZO BARBERI,

                Plaintiff,

                vs.

   SOUTH FLORIDA CRAFT BEER LLC, a
   Florida Limited Liability Company d/b/a
   LINCOLN          BEARD           BREWING
   COMPANY and BIRD ROAD PARTNERS
   LLC, a Florida Limited Liability Company,

             Defendants.
   _______________________________/

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 29, 2021, I electronically filed the
   Complaint along with a Summons for each Defendant with the Clerk of Court
   using CM/ECF. I also certify that the aforementioned documents are being
   served on all counsel of record, corporations, or pro se parties identified on the
   attached Service List in the manner specified via Service of Process by an
   authorized Process Server, and that all future pleadings, motions and documents
   will be served either via transmission of Notices of Electronic Filing generated
   by CM/ECF or via U.S. Mail for those counsel or parties who are not authorized
   to receive electronically Notices of Electronic Filing.

   By: Ronald E. Stern
   Ronald E. Stern, Esq.
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                                 SERVICE LIST:

     RENZO BARBERI, Plaintiff, vs. SOUTH FLORIDA CRAFT BEER LLC, a Florida
     Limited Liability Company d/b/a LINCOLN BEARD BREWING COMPANY and BIRD
                 ROAD PARTNERS LLC, a Florida Limited Liability Company

              United States District Court Southern District of Florida

                                     CASE NO.


   SOUTH FLORIDA CRAFT BEER LLC d/b/a LINCOLN BEARD BREWING
   COMPANY

   REGISTERED AGENT:

   FALCO, JOHN
   7360 SW 41 STREET
   MIAMI, FL 33155

   VIA PROCESS SERVER


   BIRD ROAD PARTNERS LLC

   REGISTERED AGENT:

   DEDESMA, PEDRO L
   590 W 84TH ST.
   HIALEAH, FL 33014

   VIA PROCESS SERVER




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